              Case 2:07-cr-00570-KJM Document 151 Filed 11/23/09 Page 1 of 1


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 7                                UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                            Case No. 2:07-CR-0570 FCD
11
            v.                                            STANDING ORDER RE SENTENCING
12                                                        MEMORANDA
13   TARSEM SINGH,
     __________________________________/
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            If any party wishes to file a sentencing memorandum in advance of imposition of
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     judgment and sentence, said memorandum shall be filed on or before ten (10) days in advance of
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     the date set for judgment and sentence. Any response thereto shall be filed on or before five (5)
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     days in advance of the date set for judgment and sentence. All briefing shall be filed no later
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     than 4:00 p.m. on the date it is due. The parties are cautioned that if sentencing memoranda is
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     filed late, the judgment and sentence date may be vacated and the matter continued.
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22
            IT IS SO ORDERED.
23
     Dated: November 23, 2009
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                                                _______________________________________
25                                              FRANK C. DAMRELL, JR.
                                                UNITED STATES DISTRICT JUDGE
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